Case 2:18-cv-01457-TAD-KK Document 6 Filed 02/04/19 Page 1 of 9 PageID #: 34
Case 2:18-cv-01457-TAD-KK Document 6 Filed 02/04/19 Page 2 of 9 PageID #: 35
Case 2:18-cv-01457-TAD-KK Document 6 Filed 02/04/19 Page 3 of 9 PageID #: 36
Case 2:18-cv-01457-TAD-KK Document 6 Filed 02/04/19 Page 4 of 9 PageID #: 37
Case 2:18-cv-01457-TAD-KK Document 6 Filed 02/04/19 Page 5 of 9 PageID #: 38
Case 2:18-cv-01457-TAD-KK Document 6 Filed 02/04/19 Page 6 of 9 PageID #: 39
Case 2:18-cv-01457-TAD-KK Document 6 Filed 02/04/19 Page 7 of 9 PageID #: 40
Case 2:18-cv-01457-TAD-KK Document 6 Filed 02/04/19 Page 8 of 9 PageID #: 41
Case 2:18-cv-01457-TAD-KK Document 6 Filed 02/04/19 Page 9 of 9 PageID #: 42
